                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                  AT GREENEVILLE

JOSEPH HEARN,                                )
                                             )
       Petitioner,                           )       No.    2:12-cv-129
                                             )              2:09-cr-101
v.                                           )
                                             )       Judge Jordan
UNITED STATES OF AMERICA,                    )
                                             )
       Respondent.                           )


                                 MEMORANDUM OPINION

       Pro se Petitioner Joseph Hearn filed a motion to vacate, set aside, or correct his sentence

pursuant to 28 U.S.C. § 2255 [Doc. 492] on March 30, 2012. Respondent filed a response in

opposition to Petitioner’s § 2255 motion [Doc. 494], and thereafter, Petitioner submitted a reply

[Doc. 495]. The motion, together with the files and record in this case, conclusively show that

Petitioner is entitled to no relief under 28 U.S.C. § 2255. For the following reasons, the Court

has determined an evidentiary hearing is unnecessary, see United States v. Todaro, 982 F.2d

1025, 1030 (6th Cir. 1993), and Petitioner’s § 2255 motion1 will be DENIED for lack of merit.

Accordingly, Petitioner’s motion for status report hearing [Doc. 496], motion for a ruling [Doc.

497], and motion to expedite ruling [Doc. 503] will be DENIED as moot.

I.     Procedural Background

       In October of 2010, a federal grand jury returned a six-count indictment, charging

Petitioner and seventeen co-defendants with various drug and money laundering offenses [Doc.



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          In accordance with Rule 4 of the Rules Governing Section 2255 Proceedings, the Court
has considered all of the pleadings and filings in Petitioner’s § 2255 motion filed herein, and all
the files, records, transcripts, and correspondence relating to Hearn’s conviction in Criminal
Docket No. 2:09-cr-101.


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4]. Specifically, Petitioner was charged with conspiring to distribute, and possess with intent to

distribute, at a quantity of pills containing oxycodone in violation of 21 U.S.C. §§ 846 and 841

(a)(1)(C) [Id.]. Petitioner pled guilty as charged pursuant to a plea agreement with Respondent

[Doc. 202]. It was determined that Petitioner had a base offense level of 32, which was reduced

by three levels for acceptance of responsibility. With a total offense level of 29 and a criminal

history category of I, Petitioner’s advisory Guidelines range was from 87 to 108 months.

However, the Court granted Petitioner’s motion for downward departure and he was sentenced to

be imprisoned for a total term of 72 months, and ordered, upon release from imprisonment,

supervised release for a term of 3 years [Id.].

       Petitioner filed a direct appeal contesting that the below Guidelines sentence was

excessive due to the crime admitted. The Sixth Circuit dismissed Petitioner’s appeal based on

the appellate-waiver provision in his plea agreement [Doc. 202].

       Thereafter, Petitioner filed this § 2255 motion stating his claim as follows:

               I am a first time offender, there was no violence, I played a minor
               role, and plead guilty to what I truthfully did. Both co-
               conspirator’s also plead out, so there was no other information that
               I had, but co-operated to the fullest extent requested of me.

[Doc. 494 p. 4]. In Petitioner’s Reply to the Government’s Response, Petitioner clarified the

allegations asserted within his § 2255 motion. Petitioner stated that he seeks to receive a safety

valve, therefore reducing his imprisonment sentence, by claiming “inadequate assistance of

representation” [Doc. 495].

II.    Standard of Review

       Section 2255 of Title 28 of the United States Code permits a prisoner in custody under

sentence of a federal court to move the court that imposed the sentence to vacate, correct, or set

aside the sentence, on the grounds that:

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               The sentence was imposed in violation of the Constitution or laws
               of the United States, or that the court was without jurisdiction to
               impose such sentence, or that the sentence was in excess of the
               maximum authorized by law, or is otherwise subject to collateral
               attack…

28 U.S.C. § 2255. Petitioner has the burden of establishing any claim asserted in the petition.

See Bowers v. Battles, 568 F.2d 1, 5 (6th Cir. 1977); Mayes v. United States, 93 F. Supp. 2d 882,

886 (E.D. Tenn. 2000). It is a “well-settled principle that to obtain collateral review relief a

prisoner must clear a significantly higher hurdle than would exist on direct appeal.” Fair v.

United States, 157 F.3d 427, 430 (6th Cir. 1998) (citing United States v. Frady, 456 U.S. 152,

166 (1982)).

       Where a constitutional error is alleged in order to obtain relief under § 2255, the record

must reflect a constitutional error of such magnitude it had a substantial and injurious effect or

influence on the proceedings. Brecht v. Abrahamson, 507 U.S. 619, 637-38 (1993); Watson v.

United States, 165 F.3d 486, 488 (6th Cir. 1999). In order to prevail on § 2255 motion alleging a

non-constitutional error, a petitioner must show a “fundamental defect in the proceedings which

necessarily results in a complete miscarriage of justice or an egregious error violative of due

process.” Gall v. United States, 21 F.3d 107, 109 (6th Cir. 1994). Thus, “[a] motion brought

under § 2255 must allege one of three bases as a threshold standard: (1) an error of constitutional

magnitude; (2) a sentence imposed outside the statutory limits; or (3) an error of fact or law that

was so fundamental as to render the entire proceeding invalid.” Short v. United States, 471 F.3d

686, 691 (6th Cir. 2006) (quoting Mallett v. United States, 334 F.3d 491, 496-97 (6th Cir. 2003)).

       The Court finds that Petitioner is attempting to recast the sentencing dispute as a

constitutional error by claiming ineffective assistance of counsel. If this were permitted, then

every sentencing dispute not raised on appeal could be repackaged in this fashion, and thus,



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frustrate the lawful process for correcting judicial errors that a direct appeal provides. See,

United States v. Calderon, 194 F.3d 1314. In In re Howard Sonshine, 132 F.3d 1133, 1135 (6th

Cir.1997), the Court rejected such a tactic:

               Although couched in Sixth Amendment terms, the issue is
               basically one arising under the Sentencing Guidelines, which
               would be barred under both AEDPA and the abuse of the writ
               standard.

Id. at 1135. However, in light of the foregoing, the Court addresses Petitioner’s § 2255 motion

as follows.

III.   Discussion

       A.      Ineffective Assistance of Counsel

       Petitioner alleges that his attorney provided inadequate assistance of representation

pursuant to Title 18 U.S.C. § 3006(A), by failing to inform the Court of an agreed upon sentence

reduction from a safety valve, as was previously agreed upon by the Petitioner and the

Government [Doc. 495]. Petitioner is not seeking to undo his guilty plea, but rather is attempting

to reduce his sentencing guideline level to less than 29 [Id]. Petitioner represents that there were

extensive and detailed negotiations between the Government and Petitioner regarding the option

of a safety valve before the plea agreement was submitted to the Court [Id.]. Petitioner argues

that throughout the process of drafting the plea agreement, Petitioner’s attorney “consistently

invoked the option of the safety valve, which should have been available to the Petitioner upon

determination of sentence” [Id.]. Although Petitioner received a three point reduction for his

cooperation and a below Guideline sentence, Petitioner asserts that “[t]he fact that the court

made a downward departure does not eliminate the prejudice to the Petitioner” [Id. at 3].

Petitioner claims that (1) the two point reduction would have reduced the low end of the

guideline calculation, which was being recommended, below the 72 month sentence, and (2) if

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the safety valve had been imposed, it is possible to determine how much of the downward

departure the court might have given [Id.]. Petitioner argues that he relied upon the promise of a

safety valve when agreeing to the terms set out in the plea agreement [Id.].

       Petitioner alleges that an additional two point reduction from a safety valve was assured

by his attorney prior to sentencing, and also after the agreement had been signed [Id.].

Admittedly, the safety valve itself was not mentioned in the plea agreement [Id.]. Moreover, at

the sentencing hearing, neither the Government nor Petitioner’s counsel submitted any

recommendations based upon Petitioner’s cooperation or in regard to the alleged safety valve.

During Petitioner’s plea colloquy, when asked by the Court if “[a]side from your plea agreement,

has any officer or agent of the government promised or suggested that you would receive a

lighter sentence or any other form of leniency, if you would plead guilty,” Petitioner answered

in the negative [Doc. 496]. “Where the court has scrupulously followed the required procedure,

the defendant is bound by his statements in response to the court’s inquiry.” United States v.

Todaro, 982 F.2d 1025, 1030 (6th Cir.1993), Baker v. United States, 781 F.2d 85, 90 (6th Cir.

1986). This Court scrupulously followed the Rule 11 procedure, and Petitioner is bound by his

sworn statements he made in response to the Court’s inquiry under Rule 11.

       A petitioner alleging ineffective assistance of counsel must satisfy the two-part test set

forth in Strickland v. Washington, 466 U.S. 668, 687 (1987); see also, Huff v. United States, 734

F.3d 600, 606 (6th Cir. 2013). First, Petitioner must establish, by identifying specific acts or

omissions, that Counsel’s performance was deficient and that Counsel did not provide

“reasonably effective assistance,” Id., as measured by “prevailing professional norms.” Rompilla

v. Beard, 545 U.S. 374, 380 (2005). Counsel is presumed to have provided effective assistance,

and Petitioner bears the burden of showing otherwise. Mason v. Mitchell, 320 F.3d 604, 616-17


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(6th Cir. 2003); see also Strickland, 466 U.S. at 689 (a reviewing court “must indulge a strong

presumption that counsel’s conduct falls within the wide range of reasonable professional

assistance; that is, the defendant must overcome the presumption that . . . the challenged action

might be considered sound . . . strategy”) (internal citation omitted).

       Second, Petitioner must demonstrate “a reasonable probability that, but for [counsel’s

acts or omissions], the result of the proceedings would have been different.” Strickland, 466 U.S.

at 694. “An error by counsel, even if professionally unreasonable, does not warrant setting aside

the judgment of a criminal proceeding if the error had no effect on the judgment.” Id. at 691; see

also Smith v. Robbins, 528 U.S. 259, 285-86 (2000). If a petitioner fails to prove that he

sustained prejudice, the Court need not decide whether counsel’s performance was deficient. See

United States v. Hynes, 467 F.3d 951, 970 (6th Cir. 2006) (holding that alleged “flaws” in trial

counsel’s representation did not warrant new trial where the claims, even if true, did not

demonstrate that the jury would have reached a different conclusion).

       Petitioner’s guideline range was computed at 87- 108 months, and he filed no objections

to the pre-sentence report. At the sentencing hearing held on April 5, 2011, Petitioner’s attorney

stated “[w]e have no objections to anything in the Presentence Report that affects the

computation of the sentence of the guideline range” [Doc. 478 p. 4]. The Court sentenced

Petitioner to 72 months imprisonment; fifteen months below the minimum guideline range. The

Court finds that Petitioner has failed to provide any evidence that the promise of a safety valve

was involved in the plea agreement negotiations. Petitioner was provided multiple opportunities

to address this issue prior to, or at the time of, the sentencing hearing. The Court finds that

Petitioner failed to show that the actions or inactions of his counsel resulted in a miscarriage of

justice, “was imposed in violation of the Constitution,” was outside the scope of Court’s



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jurisdiction, or exceeded “the maximum authorized by law.” 28 U.S.C. § 2255(a). Therefore, the

Court finds that Petitioner failed to provide the necessary requirements to show ineffective

counsel.

        B.     Reasonableness of Guideline Sentence

        Petitioner argues that his below Guidelines sentence of 72 months’ imprisonment is

excessive because, in his view, his participation in the conspiracy was “clearly aberrant

behavior” and, other than his offense conduct in this case, was a “law abiding citizen” [Doc.

432].

        Respondent argues that the Sentencing Guidelines recommended a sentence between 87

and 108 months’ imprisonment, and the Court demonstrated leniency by granting Petitioner’s

motion for a below Guidelines sentence and sentencing him to72 months’ imprisonment [Doc.

494 p. 6]. Respondent argues that sentencing claims are not cognizable on collateral review and

should be summarily dismissed. Grant v. United States, 72 F.3d 503, 506 (6th Cir. 1996)

(“nonconstitutional errors ordinarily are not cognizable on collateral review”); United States v.

Calderon, No. 98-1336, 1999 WL 801587, at *3 (6th Cir. Sept. 27, 1999) (“a direct appeal would

have been the correct form in which to raise sentencing questions”); Turner v. United States, No.

99-5008, 1999 WL 777669, at *2 (6th Cir. Sept. 17, 1999) (“a motion to vacate under § 2255

does not serve as a substitute for bringing a direct criminal appeal”). The Court agrees that

Petitioner has not made any such showing.

        Alleged Guideline violations do not constitute error that result in a “complete miscarriage

of justice” or in a proceeding “inconsistent with the rudimentary demands of fair procedure.”

United States v. Timmreck, 441 U.S. 780, 784 (1979).            Within Guidelines sentences are

presumptively reasonable. E.g., United States v. Vonner, 516 F.3d 382, 389 (6th Cir. 2008) (en



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banc). In this case, the Court ordered a sentence below the suggested guidelines. The Court

gave its reasons for imposing a 72 month sentence. At the sentencing hearing the Court stated

“Now I want you to know that I have granted you a variance from your guideline range, which

was 87 to 108 months” [Doc. 478 p. 28]. The Court stated that it considered the nature and

circumstances of the offence, the history and characteristics of the Petitioner, the Advisory

Guideline Range, as well as the other factors set forth in Title 18 U.S.C. Section 3553(a), and

pursuant to the Sentencing Reform Act of 1984. Because the Court considered the § 3553(a)

factors and adequately explained its reasons, the sentence is procedurally reasonable. See, e.g.,

United States v. Vowell, 516 F.3d 503, 513 (6th Cir. 2008). The sentence is substantively

reasonable because it is “proportionate to the seriousness of the circumstances of the offense and

offender, and sufficient but not greater than necessary, to comply with the purposes of §

3553(a).” Id. at 512 (quoting United States v. Smith, 505 F.3d 463, 470 (6th Cir. 2007)).

Petitioner affords no basis upon which relief may be granted.

   IV.      Conclusion

         Petitioner has failed to demonstrate he is entitled to relief under § 2255. Petitioner’s

motion to vacate, set aside or correct sentence [Doc. 492] will be DENIED, and all other

motions pending [Doc. 496, 497, 503] will be DENIED as moot.                   This action will be

DISMISSED.

         The Court will CERTIFY any appeal from this action would not be taken in good faith

and would be totally frivolous. Therefore, this Court will DENY petitioner leave to proceed in

forma pauperis on appeal. See Rule 24 of the Federal Rules of Appellate Procedure. Petitioner

having failed to make a substantial showing of the denial of a constitutional right, a certificate of




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appealability SHALL NOT ISSUE. 28 U.S.C. § 2253; Rule 22(b) of the Federal Rules of

Appellate Procedure.

       AN APPROPRIATE ORDER SHALL ENTER.

              ENTER:

                                            __s/Leon Jordan__________
                                            United States District Judge




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